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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


EMC Corporation and
EMC Israel Development Center, Ltd.,

              Plaintiffs,
v.                                     Civil Action No. 12-956-GMS

Zerto, Inc.

              Defendant.




                            VERDICT FORM
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I.     PATENT INFRINGEMENT

       A.     Infringement of U.S. Patent Number 7,577,867 ("the '867 patent")

              1.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     directly infringed claim 45 of the '867 patent?

              Checking 'yes" below indicates afindingfor EMC
              Checking "no" below indicates afindingfor Zerto.

              Yes       /
                   --~~---
                                           No- - - - - - -

              2.     Has EMC proven, by a preponderance of the evidence, that at least
                     one of Zerto's customers has directly infringed claim 45 of the '867
                     patent?

              Checking 'yes" below indicates a finding for EMC
              Checking "no" below indicates a finding for Zerto.

              Yes- - - - - - -             No__.._/
                                                 __

Please answer question 3 onlv if you answered "Yes" to question 2.

              3.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     induced at least one customer's direct infringement of claim 45 of the
                     '867 patent?

              Checking 'yes" below indicates afindingfor EMC
              Checking "no" below indicates a finding for Zerto.

              Yes- - - - - - -             No- - - - - - -


              4.     If you answered "Yes" to Question 1or3, has EMC proven, by clear
                     and convincing evidence, that the infringement was willful?

              Yes- - - - - - -             No    L
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       B.     Infringement of U.S. Patent Number 7,467,460 (the '460 patent)

              1.     Has EMC proven, by a preponderance of the evidence, that at least
                     one of Zerto's customers has directly infringed any Asserted Claim of
                     the '460 patent?

              Checking 'yes" below indicates afindingfor EMC
              Checking "no" below indicates afindingfor Zerto.

              Yes       /                  No- - - - - - -

              If you answered "Yes," please mark the claim(s) you found to be infringed:

Claim 1:             Claim 38:   _L_       Claim 42:               Claim 44: _ __

Please answer questions 2 and 3 only ifyou answered "Yes" to question 1.

              2.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     induced at least one customer's direct infringement of any Asserted
                     Claim of the '460 patent?

              Checking 'yes" below indicates afindingfor EMC
              Checking "no" below indicates afindingfor Zerto.

              Yes- - - - - - -             No_~./
                                                __

             If you answered "Yes," please mark the claim(s) you found to be infringed:

Claim 1: - - -       Claim 38: - - -       Claim 42: - - -         Claim 44: - - -

              3.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     contributed to at least one customer's direct infringement of any
                     Asserted Claim of the '460 patent?

              Checking 'yes" below indicates a finding for EMC
              Checking "no" below indicates a finding for Zerto.

              Yes_ _   ~/
                        _ _ __             No- - - - - - -

             If you answered "Yes," please mark the claim(s) you found to be infringed:

Claim 1: - - -       Claim 38:   _L        Claim 42:               Claim 44: _ __
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       C.     Infringement of U.S. Patent Number 6,073,222 (the '222 patent)

              1.     Has EMC proven, by a preponderance of the evidence, that at least
                     one of Zerto's customers has directly infringed claim 1 of the '222
                     patent?

              Checking 'yes" below indicates afindingfor EMC.
              Checking "no" below indicates afindingfor Zerto.

              Yes- - - - - - -             No_,/'----_

Please answer questions 2 and 3 onlv if you answered "Yes" to question 1.

              2.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     induced at least one customer's direct infringement of claim 1 of the
                     '222 patent?

              Checking 'yes" below indicates a finding for EMC.
              Checking "no" below indicates afindingfor Zerto.

              Yes                          No- - - - - - -

              3.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     contributed to at least one customer's direct infringement of claim 1
                     of the '222 patent?

              Checking 'yes" below indicates a finding for EMC.
              Checking "no" below indicates a finding for Zerto.

              Yes- - - - - - -             No- - - - - - -
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       D.     Infringement of U.S. Patent Number 7,603,395 (the '395 patent)

              1.     Has EMC proven, by a preponderance of the evidence, that at least
                     one of Zerto's customers has directly infringed any Asserted Claim of
                     the '395 patent?

              Checking 'yes" below indicates afindingfor EMC
              Checking "no" below indicates a finding for Zerto.

                                           No

              If you answered "Yes," please mark the claim(s) you found to be infringed:

              Claim 1:              Claim 2:   _L_        Claim 8: _ __

Please answer questions 2 and 3 only if you answered "Yes" to question J.

              2.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     induced at least one customer's direct infringement of any Asserted
                     Claim of the '395 patent?

              Checking 'yes" below indicates a finding for EMC
              Checking "no" below indicates a finding for Zerto.

              Yes- - - - - - -             No~/~-
              If you answered "Yes," please mark the claim(s) you found to be infringed:

              Claim 1: - - -        Claim 2: - - -        Claim 8:

              3.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     contributed to at least one customer's direct infringement of any
                     Asserted Claim of the '395 patent?

              Checking 'yes" below indicates afindingfor EMC
              Checking "no" below indicates a finding for Zerto.

              Yes_ ___,,~;'
                        _ _ __             No- - - - - - -

              If you answered "Yes," please mark the claim(s) you found to be infringed:

              Claim 1:              Claim 2:   _L_        Claim 8: _ __
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       E.     Infringement of U.S. Patent Number 7,791,091 (the '091 patent)

              1.     Has EMC proven, by a preponderance of the evidence, that at least
                     one of Zerto's customers has directly infringed any Asserted Claim of
                     the '091 patent?

              Checking 'yes" below indicates a finding for EMC
              Checking "no" below indicates afindingfor Zerto.

              Yes___     /~---             No- - - - - - -

              If you answered "Yes," please mark the claim(s) you found to be infringed:

              Claim 1:              Claim 5:   _L_
Please answer questions 2 and 3 onlv ifvou answered "Yes" to question 1.

              2.     Has EMC proven, by a preponderance of the evidence, that Zerto has
                     induced at least one customer's direct infringement of any Asserted
                     Claim of the '091 patent?

              Checking 'yes" below indicates a finding for EMC
              Checking "no" below indicates afindingfor Zerto.

              Yes- - - - - - -             No_/_,,____

             If you answered "Yes," please mark the claim(s) you found to be infringed:

              Claim 1: - - -       Claim 5: - - -

             3.      Has EMC proven, by a preponderance of the evidence, that Zerto has
                     contributed to at least one customer's direct infringement of any
                     Asserted Claim of the '091 patent?

             Checking 'yes" below indicates afindingfor EMC
             Checking "no" below indicates afindingfor Zerto.

              Yes___     L______           No- - - - - - -

             If you answered "Yes," please mark the claim(s) you found to be infringed:

             Claim 1:              Claim 5:    /
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VALIDITY

       F.      Validity of U.S. Patent Number 7,467,460 (the '460 patent)

               1.     Has Zerto proven, by clear and convincing evidence, that any
                      Asserted Claim of the '460 patent is anticipated by a single prior art
                      reference?

               Checking 'yes" below indicates a finding/or Zerto.
               Checking "no" below indicates a finding/or EMC.

               Yes- - - - - - -                         __
                                                    No_~/
               If you answered "Yes" to this question, please mark the claim(s) you found to be

anticipated:

               Claim 1: - - -        Claim 38: - - -

               Claim 42: - - -       Claim 44: - - -

               2.     Has Zerto proven, by clear and convincing evidence, that any
                      Asserted Claim of the '460 patent would have been obvious at the time
                      of the invention to a person of ordinary skill in the art?

               Checking 'yes" below indicates a finding/or Zerto.
               Checking "no" below indicates a finding/or EMC.

               Yes- - - - - - -                         __
                                                    No_~/
               If you answered "Yes" to this question, please mark the claim(s) you found to be

obvious:

               Claim 1: - - -        Claim 38: - - -

               Claim 42: - - -       Claim 44: - - -
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     G.    Validity of U.S. Patent Number 6,073,222 (the '222 patent)

           1.     Has Zerto proven, by clear and convincing evidence, that claim 1 of
                  the '222 patent is anticipated by a single prior art reference?

           Checking 'yes" below indicates a finding/or Zerto.
           Checking "no" below indicates a finding/or EMC.

           Yes- - - - - - -                    No- - - -. /
                                                        '------
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       H.   Validity of U.S. Patent Number 7,603,395 (the '395 patent)

            1.     Has Zerto proven, by clear and convincing evidence, that any
                   Asserted Claim of the '395 patent would have been obvious at the time
                   of the invention to a person of ordinary skill in the art?

            Checking 'yes" below indicates afindingfor Zerto.
            Checking "no" below indicates afindingfor EMC.

            Yes- - - - - - -                     No _     _&_/
                                                            __
            If you answered "Yes" to this question, please mark the claim(s) you found to be

obvious:

            Claim 1: - - -        Claim 2: - - -        Claim 8: - - -
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      I.   Validity of U.S. Patent Number 7,791,091 (the '091 patent)

            1.     Has Zerto proven, by clear and convincing evidence, that any
                   Asserted Claim of the '091 patent would have been obvious at the time
                   of the invention to a person of ordinary skill in the art?

            Checking 'yes" below indicates a finding for Zerto.
            Checking "no" below indicates afindingfor EMC.


            Yes- - - - - - -                     No------=------
                                                        /

            If you answered "Yes" to this question, please mark the claim(s) you found to be

obvious:

            Claim 1: - - -        Claim 5: - - -
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II.   DAMAGES

             1.   If you found that Zerto infringed at least one Asserted Claim of any
                  Asserted Patent(s), and that the infringed claim(s) was not invalid,
                  state the amount of damages that you find EMC has proven it is
                  entitled to by a preponderance of the evidence.

Damages:$   5861 'JBJ.00
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